
PER CURIAM.
*660Affirmed. See § 812.13(3)(b), Fla. Stat. (2014) (providing: "An act shall be deemed 'in the course of the taking' if it occurs either prior to, contemporaneous with, or subsequent to the taking of the property and if it and the act of taking constitute a continuous series of acts or events"); Fonseca v. State, 547 So.2d 1032 (Fla. 3d DCA 1989) (affirming robbery conviction where defendant grabbed money from a store cash register and ran; the cashier chased defendant and grabbed him, preventing him from leaving the store; the cashier and defendant fell to the ground, at which time defendant punched and kicked the cashier and then fled the store); Messina v. State, 728 So.2d 818 (Fla. 1st DCA 1999) (holding that robbery can be established by proof that force was used to retain the victim's property once it has been taken); Lemus v. State, 641 So.2d 177 (Fla. 5th DCA 1994) (same).
